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               IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:11CR251
                              )
          v.                  )
                              )
DONALD WILLIAM MILLER, JR.,   )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

for self-surrender (Filing No. 65).        The Court finds the motion

should be denied as moot.     Accordingly,

          IT IS ORDERED that defendant’s motion for self-

surrender is denied as moot.

          DATED this 2nd day of May, 2012.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
